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                                   4                                 UNITED STATES DISTRICT COURT

                                   5                                NORTHERN DISTRICT OF CALIFORNIA

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                                   7    ALEKSANDR L. YUFA,                                  Case No. 4:09-cv-01315-KAW
                                   8                   Plaintiff,                           ORDER DENYING PLAINTIFF'S EX
                                                                                            PARTE APPLICATION; ORDER
                                   9            v.                                          GRANTING DEFENDANT'S MOTION
                                                                                            TO APPROVE INSTRUCTIONS FOR
                                  10    TSI INCORPORATED,                                   ADMINISTRATION OF RECEIVER;
                                                                                            ORDER DENYING PLAINTIFF’S
                                  11                   Defendant.                           MOTION TO EXPEDITE AS MOOT
                                  12                                                        Re: Dkt. Nos. 253, 255, 261
Northern District of California
 United States District Court




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                                  14                                    EX PARTE APPLICATION
                                  15          On March 9, 2017, Plaintiff Aleksandr L. Yufa filed an ex parte application requesting an

                                  16   order directing Defendant TSI Incorporated to file its forthcoming motion to compel the

                                  17   assignment of patents to the appointed receiver by a certain deadline. (Dkt. No. 253.) TSI

                                  18   opposed the ex parte application on the grounds that “Dr. Yufa has no right to dictate when or how

                                  19   the judgment against him must be satisfied.” (Dkt. No. 254 at 2.) Indeed, judgment creditors have

                                  20   10 years after the entry of judgment to enforce the judgment. Cal. Civ. Proc. Code § 683.020.

                                  21   There is no requirement that the judgment creditor act as quickly as possible. Accordingly,

                                  22   Plaintiff’s ex parte application is DENIED.

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                                               DEFENDANT’S MOTION TO APPROVE INSTRUCTIONS FOR
                                  24                    ADMINISTRATION OF RECEIVER

                                  25          On March 23, 2017, TSI filed a motion to approve the instructions for the administration of

                                  26   the court-appointed receiver Greyhound IP LLC (“Greyhound”). (Dkt. No. 256.) TSI requests that

                                  27   Greyhound be required to provide only one report, a final declaration or report, with the Court at

                                  28   the conclusion of its valuation. Id. at 2. Additionally, TSI requests that the Court order that
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                                   1   Greyhound is entitled to be paid directly by TSI, without prior Court approval, at the rate of

                                   2   $400.00 per hour, and that any sums paid by TSI shall be added to the judgment after Greyhound

                                   3   has provided its final valuation of each patent. Id. at 2-3.

                                   4          Dr. Yufa opposed this motion on the grounds that he did not believe that it was fair that the

                                   5   receiver’s fee be added to the judgment. (Dkt. No. 258.) Under California law, the receiver is

                                   6   allowed to recover “the cost of the undertaking.” Cal. Civ. Proc. Code § 567(b). Here, TSI has

                                   7   negotiated that Greyhound’s maximum cost is limited to $40,000.00, which includes the valuation

                                   8   and, if approved by the Court, the marketing and sale of the Receivership Property. (Def.’s Reply,

                                   9   Dkt. No. 259; Decl. of Courtland Merrill, Dkt. No. 260 ¶ 3, Ex. A.) TSI’s request to pay

                                  10   Greyhound upfront was to assuage Greyhound’s concern that it would not receive payment should

                                  11   the judgment not be paid in full. (See Def.’s Reply at 2.) The Court finds that this concern is

                                  12   legitimate given the uncertainty of the value of the patents and Dr. Yufa’s limited means to
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                                  13   otherwise satisfy the judgment.

                                  14          In light of the foregoing, TSI’s motion is GRANTED, and IT IS ORDERED that:

                                  15          1. Greyhound, or its acquirer, Houlihan Lokey, with offices at One Sansome Street, Suite

                                  16   1700, San Francisco, CA 94104 shall swear to perform the duties of receiver faithfully pursuant to

                                  17   California Code of Civil Procedure § 567.

                                  18          2. Greyhound shall have all of the powers and authority usually held by receivers and

                                  19   reasonably necessary to value the Receivership Property unless otherwise stated, without further

                                  20   order of the Court.

                                  21          3. Greyhound shall have the right to apply to this Court for further instructions or

                                  22   directions.

                                  23          4. Greyhound shall be entitled to be paid without prior Court approval, at the rate of

                                  24   $400.00 per hour, not to exceed $40,000.00. Greyhound’s compensation for valuing the

                                  25   Receivership Property shall be paid directly by the Defendant. Upon approval of the Court, any

                                  26   sums paid by Defendant to Greyhound shall be added to the judgment after Greyhound has

                                  27   provided its final declaration or report to the Court regarding the value of the Receivership

                                  28   Property.
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                                   1          5. Plaintiff, as well as his agents or representatives, shall cooperate with all requests of

                                   2   Greyhound and are enjoined from interfering with Greyhound’s performance of its duties

                                   3   hereunder.

                                   4          6. Greyhound shall faithfully perform and discharge its duties and obey the Court’s orders.

                                   5          In light of the foregoing, Plaintiff’s request to expedite the decision on these motions (Dkt.

                                   6   No. 261) is denied as moot.

                                   7   Dated: June 22, 2017
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                                   8                                                         KANDIS A. WESTMORE
                                   9                                                         United States Magistrate Judge

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